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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                  4:11CR3087-1
                                            )
              V.                            )
                                            )
GUY E. ALLEN,                               )                       ORDER
                                            )
                     Defendant.             )
                                            )

       IT IS ORDERED that:

       (1)    Allen’s Motion for Extension of Time to File Memorandum of Law (filing no.
325) is denied, except as indicated below.

       (2)      Allen shall have until December 29, 2015, to file his Memorandum of Law in
the court file. The prison mail box rule will not be applied.

        (3)    The Memorandum of Law shall not add claims or expand upon the claims set
forth in grounds one through four of the Motion Under 28 U.S.C. § 2255 (filing no. 316). The
Memorandum of Law shall only address the law related to claims one through four. Failure
to follow this directive may result in the Memorandum of Law being stricken or ignored.

       (4)    To the extent Allen’s motion (filing 325) also requests “my jail credit”, it is
denied.

       (5)    The Clerk shall mail a copy of this Order to Allen.

       (6)    My chambers shall call this matter to my attention on December 30, 2015.

       DATED this 30th day of October, 2015.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
